IRTR161 - 12 WISCONSIN
DEPARTMENT OF CORRECTIONS ADMINISTRATIVE CODE
DOC-2466 (Rev. 12/2008) WICS Chapter DOC 306

INCIDENT REPORT

IR NUMBER: 00531116

INCIDENT DATE: 09/19/2022 APPROXIMATE No INCIDENT TIME: 09:00:00 APPROXIMATE Yes
INSTITUTION/REGION: Waupun Correctional Institution

LOCATION OF INCIDENT: Waupun Correctional Institution, Seg

EXACT LOCATION OF INCIDENT:

None
STAFF MEMBER COMPLETING REPORT: HILL, JASON J

JOBTITLE: CORR OFFICER
OVERALL IR STATUS: Finalized

INCIDENT TYPE: Informational
INCIDENT RESULTS/ACTIONS:

EMPLOYEE ON DUTY: Yes
REPORTED TO LAW ENFORCEMENT: Unknown

STAFF INVOLVED

STAFF NAME JOB TITLE INVOLVEMENT TYPE
HILL, JASON J CORR OFFICER Principal
OFFENDERS INVOLVED

OFFENDER NAME DOC # INVOLVEMENT TYPE
HENRY, MARCUS M 280702 Principal

HEWLETT, DAMIEN S 559455 Principal

MILTON, TYLER L 596157 Principal

ODOM, RICKEY Jr 189125 Principal

OTHER PERSONS INVOLVED

PERSON'S NAME INVOLVEMENT TYPE
NONE

DESCRIPTION OF INCIDENT:

on the above date and time I officer Hill was working my assigned post as the Ist shift seg 4 officer, When I was performing my duties and
conducting rounds on lower A-range and talking to Inmate Milton,Tyler #596157 who resides in cell A-113, during our conversation I over
heard Inmate Odom, Rickey #189125 who resides in A-111, yelling out of his cell door to Inmate Henry, Marcus #280702 who resides in A-
106, about trying to coming up with a plan to get me removed from my assigned job and fired i then heard an unknown inmate yell from
down range that they have an idea and stated that I physically assulted him and attempted to kill him the above inmates excluding inmate
Milton stated they will discus a plan later. Let it be known my BWC 1-RHU4 was activate the entire time I was on range, Captain.
Rymarkiewicz was notified EOR

PHOTOS/SCANNED DOCUMENTS ATTACHED
PHOTO DOCUMENT TYPE PAGE # IMAGE

Case 1:22-cv-01376-WCG__ Filed 09/24/24. Pagelof1l DocumentBOC0103

